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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
              v.                                )          No. 1:21-cr-00054-HAB-SLC
                                                )
ADAM T. WARD                                    )

                          FINDINGS AND RECOMMENDATION
                             OF THE MAGISTRATE JUDGE
                              UPON A PLEA OF GUILTY

TO:    THE HONORABLE HOLLY A. BRADY, DISTRICT JUDGE,
       UNITED STATES DISTRICT COURT

       Upon Defendant’s request to enter a plea of guilty pursuant to Rule 11 of the Federal

Rules of Criminal Procedure, this matter came on for hearing before U.S. Magistrate Judge Susan

Collins, on October 20, 2021, with the written consents of Defendant, counsel for Defendant, and

counsel for the United States of America. The Defendant waived in open Court prosecution by

indictment and consented that the proceedings may be by information rather than by indictment.

       For the proceeding, the Magistrate Judge, counsel for the United States of America,

counsel for Defendant, and the Defendant all appeared by video teleconference. The pretrial

services officer was present in the courtroom with the courtroom deputy clerk. Defendant

consented to appearing by video teleconference, and both he and his lawyer stated that they had

discussed the matter. Defendant’s image and voice were clear, and I confirmed that he could see

and hear me and counsel clearly.

       I proceeded without Defendant physically present before me because, during the national

emergency created by the novel coronavirus (COVID-19) pandemic, Defendant could not be

physically present before me without seriously jeopardizing public health and safety. See
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General Order No. 2020-08 (implementing Coronavirus Aid, Relief, and Economic Security Act,

Pub. L. No. 116-136 (“CARES Act”), and March 29, 2020, action by Judicial Conference

authorizing video teleconferencing or teleconferencing under certain circumstances); General

Order 2021-24 (extending the authorization for use of video teleconferencing or teleconferencing

for the instances described in General Order 2020-08).

       I did not further postpone the plea because Defendant’s lawyer contended, and I FIND,

that further delay of the plea would cause serious harm to the interests of justice. Specifically, I

FIND that the plea in this case cannot be further delayed without serious harm to the interests of

justice because:

       (1) delaying the proceedings further to accommodate an entirely in-person plea hearing is

impracticable given that there is no ascertainable end to the current National Emergency

stemming from the COVID-19 virus, and the interests of justice will be seriously harmed by

prolonged, indefinite delays of the plea hearing in light of Defendant’s desire to plead guilty; and

       (2) proceeding with the plea hearing by video teleconference at this time reduces the

potential that any necessary participant in the hearing—including, specifically, Defendant,

Defendant’s counsel, the Assistant United States Attorney, and/or any relevant case agent(s) with

personal knowledge of the case—may become unavailable or unable to attend a plea hearing in

person due to illness.

       The hearing on Defendant’s plea of guilty was in full compliance with Rule 11, Federal

Rules of Criminal Procedure, as supplemented by, and in accordance with, Section 15002 of the

CARES Act and General Orders 2020-08 and 2021-24.

       I FIND as follows:


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           (1) that Defendant understands the nature of the charge against him to which the plea is

offered;

           (2) that the Defendant’s waiver of indictment is knowing and voluntary;

           (3) that Defendant understands his right to trial by jury, to persist in his plea of not guilty,

to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and his

right against compelled self-incrimination;

           (4) that Defendant understands what the maximum possible sentence is, including the

effect of the supervised release term, and Defendant understands that the Sentencing Guidelines

apply and that the Court may depart from those guidelines under some circumstances;

           (5) that the plea of guilty by Defendant has been knowingly and voluntarily made and is

not the result of force or threats or of promises apart from the plea agreement between the

parties;

           (6) that Defendant is competent to plead guilty;

           (7) that Defendant understands that his answers may later be used against him in a

prosecution for perjury or false statement;

           (8) that there is a factual basis for Defendant’s plea; and further,

           I RECOMMEND that the Court accept both Defendant’s waiver of indictment and

Defendant’s plea of guilty and that Defendant be adjudged guilty of the offense charged in the

single-count Information, and have sentence imposed. A Presentence Report has been ordered.

Should this Findings and Recommendation be accepted and Defendant adjudged guilty,




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sentencing will be scheduled before District Judge Holly A. Brady by separate order and notice.

Objections to the Findings and Recommendation are waived unless filed and served within

fourteen (14) days. 28 U.S.C. § 636(b)(1)(B).

       DATED this 20th day of October 2021.

                                                    /s/ Susan Collins
                                                    Susan Collins
                                                    United States Magistrate Judge




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